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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

DINA DAHDAL                                                              PLAINTIFF

v.                        CASE NO. 4:17-CV-00478 BSM

TREMAYNE PEARSON, et al.                                              DEFENDANTS

                                      ORDER

      Pursuant to Dina Dahdal’s motion to dismiss [Doc. No. 61], this case is dismissed

without prejudice.

      IT IS SO ORDERED this 23rd day of September 2019.


                                               _________________________________
                                                UNITED STATES DISTRICT JUDGE
